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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  SALIX PHARMACEUTICALS, LTD.; SALIX              )
  PHARMACEUTICALS, INC.; BAUSCH                   )
  HEALTH IRELAND LTD.; ALFASIGMA                  )
  S.P.A.,                                         )
                                                  )
                       Plaintiffs,                )
                                                  )
                v.                                )        C.A. No. 20-430 (RGA)
                                                  )
  NORWICH PHARMACEUTICALS, INC.,                  )
                                                  )
                       Defendant.                 )


                       PLAINTIFFS’ POST-TRIAL REPLY BRIEF

                                            MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                            Jack B. Blumenfeld (#1014)
                                            Karen Jacobs (#2881)
                                            Cameron P. Clark (#6647)
                                            1201 North Market Street
  OF COUNSEL:                               P.O. Box 1347
                                            Wilmington, DE 19899-1347
  Scott K. Reed                             (302) 658-9200
  Steven C. Kline                           jblumenfeld@morrisnichols.com
  Shannon K. Clark                          kjacobs@morrisnichols.com
  Daniel A. Apgar                           cclark@morrisnichols.com
  Alexis M. McJoynt                         Attorneys for Plaintiffs
  Damien N. Dombrowski
  VENABLE LLP
  1290 Avenue of the Americas
  New York, NY 10104
  (212) 218-2100

  Becky E. Steephenson
  VENABLE LLP
  1270 Avenue of the Americas, 24th Floor
  New York, NY 10020
  (212) 307-5598
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                           TABLE OF ABBREVIATIONS

 ’195 patent       U.S. Patent No. 9,421,195
 ’397 patent       U.S. Patent No. 10,335,397
 ’569 patent       U.S. Patent No. 8,309,569
 ’573 patent       U.S. Patent No. 8,642,573
 ’667 patent       U.S. Patent No. 10,765,667
 BID               two times a day
 GI                gastrointestinal
 FDA               Food and Drug Administration
 HE                hepatic encephalopathy
 IBS               irritable bowel syndrome
 IBS-D             irritable bowel syndrome with diarrhea
 TID               three times a day




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 I.     INFRINGEMENT

        Plaintiffs’ Opening Brief described two inducement theories established by the evidence

 at trial: (1) the Label will induce patients (and patients directly infringe) and (2) the Label will

 induce physicians (and physicians and patients jointly infringe).

        A.      Norwich’s Label Will Induce Patients to Infringe

        The Federal Circuit has long held that “the sale of a product specifically labeled for use in

 a patented method constitutes inducement to infringe that patent[.]” Eli Lilly & Co. v. Actavis

 Elizabeth LLC, 435 F. App’x 917, 926 (Fed. Cir. 2011). Thus, Norwich misunderstands the

 implications of Dr. Brown’s testimony that patients will not take rifaximin correctly unless he

 instructs patients “how and when” to take it, Tr. 77:25-78:3 (Brown), because, as he explained,

 Norwich’s Label instructs patients to do the exact same thing that he instructs patients to do, Tr.

 78:11-13 (Brown). Thus, Dr. Brown’s testimony puts this case squarely in line with the Federal

 Circuit’s Hatch-Waxman inducement framework in which “[t]he pertinent question is whether the

 proposed label instructs users to perform the patented method.” AstraZeneca LP v. Apotex, Inc.,

 633 F.3d 1042, 1060 (Fed. Cir. 2010).

        Norwich incorrectly concludes that “it follows” that it cannot induce patients to infringe

 because (i) “patients will not understand the entirety of the Label” and (ii) the Label’s patient

 counseling section is not directed to HE and IBS-D patients. Def’s Res. Br. at 5. First, Norwich

 cites no case suggesting either is required for inducement, and indeed infringement does not hinge

 on a full understanding of the relevant instruction manual or a separate patient counseling handout.

 See GlaxoSmithKline LLC v. Teva Pharms. USA Inc., 7 F.4th 1320, 1340 (Fed. Cir. 2021) (“[W]e

 have affirmed induced infringement … on circumstantial evidence of inducement (e.g.,

 advertisements, user manuals) directed to a class of direct infringers … without requiring hard

 proof that any individual third-party direct infringer was actually persuaded to infringe by that


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 material.”) (citation omitted); Orexigen Therapeutics, Inc. v. Actavis Lab’ys FL, Inc., 282 F. Supp.

 3d 793, 814 (D. Del. 2017) (finding label would induce patients to infringe based only on

 indication and dosage sections). Thus, the question is whether the Label encourages, recommends,

 or promotes infringement, not whether it is actually read or relied upon. GlaxoSmithKline LLC, 7

 F.4th at 1340. Second, in asserting that Plaintiffs’ experts “agreed that patients will not read … all

 sections” of the Label, Def’s Res. Br. at 4, Norwich omits the testimony that patients will read the

 following sections: indications and usage, dosage and administration, clinical trial experience, use

 in specific populations, clinical trials, and patient counseling. Tr. 69:5-20, 85:22-88:18 (Brown);

 Tr. 541:16-21 (Schoenfeld).1 And Norwich does not dispute that the “Highlights” section of drug

 labeling (which summarizes the indications and administration) makes “labeling easier for patients

 … to understand.” PTX 941 at 3930. Third, although suggesting that Plaintiffs’ experts “agreed

 that patients will not … understand all sections” of the Label, Def’s Res. Br. at 4, Norwich does

 not dispute this issue is resolved when physicians help patients understand the Label and/or

 communicate2 the information in the Label to the patients. Pls’ FoF ¶ 48.

        B.      Joint Infringement by Physicians and Patients

        Norwich does not dispute that physicians will establish the timing and manner that patients

 take its ANDA Product. In disputing the conditioning requirement, Norwich argues this case is

 different than Pernix and Eli Lilly because physicians will not go as far as the physicians did in



 1
   Norwich incorrectly suggests that Plaintiffs have not pointed to any section of the Label, other
 than the patient counseling section, that provides instructions to perform the claimed methods.
 Def’s Res. Br. at 5. To the extent it was unclear, Plaintiffs rely on the portions of Label cited in
 Sections III.A.3 and III.A.4 of Plaintiffs’ Opening Brief.
 2
   During closing arguments, the Court referred to the indirect “channel” by which physicians
 communicate information in the Label to their patients. Tr. 1026:5-16, 1039:19-1040:1; Pls’ Op.
 Br. at 4. The information in Norwich’s Label induces patients to infringe regardless of how patients
 receive that information, and Norwich’s intent to induce infringement is not negated by physicians
 passing that information along to their patients.


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 those cases. It argues that unlike in Pernix, physicians will not require HE and IBS-D patients to

 sign agreements. Def’s Res. Br. at 3. But agreements are not required. See Eli Lilly & Co. v. Teva

 Parenteral Meds., Inc., 845 F.3d 1357, 1366-67 (Fed. Cir. 2017) (“§ 271(a) infringement is not

 limited solely to … contractual arrangements”) (citation omitted); Pernix Ir. Pain DAC v. Alvogen

 Malta Operations Ltd., 323 F. Supp. 3d 566, 583 (D. Del. 2018) (“[A] physician need not verify

 compliance or issue threats to satisfy the ‘conditioning’ requirement, although the evidence at trial

 shows that physicians would frequently do both when prescribing [the ANDA Product].”).

 Norwich argues that unlike in Eli Lilly, physicians will not threaten to withhold rifaximin if patients

 fail to take it as claimed. Def’s Res. Br. at 2-3. That physicians in Eli Lilly would threaten denial

 of pemetrexed if patients did not take folic acid does not make threats the standard for conditioning.

 Eli Lilly, 845 F.3d at 1366-67; Pernix, 323 F. Supp. 3d at 583.

        C.      Infringement of HE Claims

        12 months or longer. Norwich’s Label implicitly instructs administration of its ANDA

 Product for 12 months or longer. See Sanofi v. Glenmark Pharms. Inc., USA, 204 F. Supp. 3d 665

 (D. Del. 2016); Pls’ FoF ¶¶ 61-67, 76, 82. Norwich attempts to distinguish Sanofi by asserting that

 “the Court in Sanofi found and relied on various ‘additional clues’ in the defendants’ labels to find

 inducement.” Def’s Res. Br. at 7. But these “clues” also are in Norwich’s Label. It specifies that

 202 patients in clinical trials examining “the safety of rifaximin tablets 550 mg taken two times a

 day for reducing the risk of overt [HE] recurrence” were treated with rifaximin for more than a

 year. JTX 73 § 6.1; Pls’ FoF ¶ 66. One would not need “to look outside the label” for this

 information. Contra Takeda Pharms. U.S.A., Inc. v. West-Ward Pharm. Corp., 785 F.3d 625, 634

 (Fed. Cir. 2015) (instruction to use colchicine to prevent gout did not induce claim to treat gout

 where patentee had to rely on a different colchicine label for treatment instructions). Thus, like in

 Sanofi (which specified that patients in a clinical trial were treated with dronedarone for more than


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 a year), 204 F. Supp. 3d at 683, Norwich’s Label explains that patients were treated with rifaximin

 for over a year. Pls’ FoF ¶ 66. Like in Sanofi (where the “safety and monitoring information”

 suggested that “the drug is intended for long-term use”), 204 F. Supp. 3d at 683-84, the Label

 includes safety information that suggests that rifaximin is intended for long-term use. Pls’ FoF ¶

 66. Like in Sanofi, the experts agree that HE is chronic, and patients must remain on rifaximin

 until they have a liver transplant or die. Pls’ FoF ¶ 64.

        Norwich argues that the knowledge that HE is chronic “has nothing to do with the Label,”

 Def’s Res. Br. at 9, but labels are not read “in a vacuum” because the readers will “bring their own

 knowledge and experience to bear on the labelling in deciding the duration of treatment.” Amarin

 Pharma, Inc. v. West-Ward Pharms. Int’l Ltd., 407 F. Supp. 3d 1103, 1111 (D. Nev. 2019); see

 also Abbott Lab’ys v. TorPharm, Inc., 300 F.3d 1367, 1373 (Fed. Cir. 2002) (determinations of

 infringement are “based on consideration of all the relevant evidence,” not just the label).

        Norwich does more than “describ[e] an infringing mode”; it specifically intends for its

 ANDA Product to be administered for 12 months or longer. Takeda, 785 F.3d at 631. Contra Shire

 LLC v. Amneal Pharms., LLC, No. 11-cv-03781, 2014 WL 2861430, at *5 (D.N.J. June 23, 2014)

 (label was “indifferent” because drug could be taken “with or without food”). This case is not

 “factually closer to Genentech.” Contra Def’s Res. Br. at 8. Genentech does not address whether

 evidence in a label encourages use of a drug long-term for a chronic condition; it addressed a label

 that provided multiple non-infringing “dose modification options.” Genentech, Inc. v. Sandoz, Inc.,

 No. 19-0078-RGA, 2022 WL 842957, at *8, *10 (D. Del. Mar. 22, 2022).

        Maintaining Remission. Norwich does not dispute that its Label will induce

 administration of rifaximin 550 mg BID to decrease breakthrough episodes or reduce the risk of

 HE recurrence. “Decreasing breakthrough episodes,” “reducing the risk of HE recurrence,” and




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 “maintaining remission of HE” are the “same thing.”3 Pls’ FoF ¶ 71. And the clinical trial data in

 the Label—that formed the basis for the FDA’s approval of rifaximin for “[r]eduction of risk of

 overt [HE] recurrence”—provides evidence of this. The results showed that 80% of patients taking

 rifaximin 550 mg BID maintained remission of HE, because they did not have overt HE recurrence

 during the study period. JTX 73, § 14.2 (Fig. 1); Pls’ FoF ¶ 72. Therefore, Norwich’s proposed

 Label need not “explicitly track the language of [the] claimed method” because it will “inevitably”

 encourage physicians and patients to maintain remission of HE. Sanofi, 204 F. Supp. 3d at 673-

 74; AstraZeneca, 633 F.3d at 1060.

        This scenario is different than Shire where an ADHD indication did not induce

 infringement of a method of treating amphetamine abuse (an off-label use). See Shire, 2014 WL

 2861430, at *5. Here, reducing the risk of HE and maintaining remission of HE are on-label,

 “interrelated,” and “describ[e] the continuum of the same thing.” Pls’ FoF ¶ 71.

        Conn Score of 0 or 1. Norwich does not dispute that for patients to be at “risk of overt

 [HE] recurrence,” they must be in remission of HE. Norwich also does not dispute that the clinical

 studies in its Label only enrolled patients in remission as defined as a Conn score of 0 or 1. See

 Pls’ FoF ¶ 85. And Norwich does not dispute that based on these studies, the FDA approved

 rifaximin to reduce the risk of overt HE. By inducing administration in patients at risk of

 experiencing overt HE recurrence, the Label will induce administration in patients having a Conn

 score of 0 or 1. See Pls’ FoF ¶¶ 70-74, 83-87.

        Norwich attempts to distinguish Sanofi by asserting that the indication section of

 Norwich’s Label does not “direct a reader to look at the Clinical Studies section.” Def’s Res. Br.



 3
  Plaintiffs’ cite to Dr. Berg’s testimony was not a mistake. When deposed, Dr. Berg testified under
 oath that “maintaining remission of HE” and “reducing the risk of HE recurrence” describe “the
 same thing.” Tr. 252:9-18 (Berg). At trial, he changed his story and was impeached. Id.


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 at 8 n.4, 10. That distinction is not factually meaningful, given that patients will read both sections.

 Supra p. 2. Norwich cites no legal authority for its proposal that the Clinical Studies section is

 relevant to infringement only if another section cites to it. Cf. GlaxoSmithKline LLC v. Teva

 Pharms. USA, Inc., 25 F.4th 949, 951 n.2 (Fed. Cir. 2022) (per curium, denying en banc review)

 (Moore, C.J., concurring) (“[T]he cobbling together argument is a nonstarter. We regularly allow

 claim elements to be found in different portions of a label.”).

         Lactulose. The Label will encourage co-administration of the ANDA Product with

 lactulose. See Pls’ FoF ¶¶ 88, 90-93. In Sanofi, this Court found that the fact that “over half of the

 [patients in the clinical trial were] taking diuretics, and that the diuretics did not decrease positive

 outcomes from dronedarone, would encourage at least some physicians to administer dronedarone

 concomitantly with diuretics.” 204 F. Supp. 3d at 682-83. Norwich has made no attempt to

 distinguish the facts of Sanofi from the lactulose claim. Here, a higher percentage of subjects in

 the clinical trials were administered both rifaximin and lactulose compared to Sanofi, confirming

 that Norwich’s Label will induce co-administration. See JTX 73 §§ 1.2, 14.2 (91% of patients took

 rifaximin and lactulose concomitantly, and lactulose did not alter the treatment effect of rifaximin);

 Pls’ FoF ¶ 91. Norwich’s Label does not “merely present[] options” but includes data that would

 encourage the co-administration of both drugs. Contra Genentech, 2022 WL 842957, at *8, *10.

         Non-infringing uses. Substantial non-infringing use does not negate intent, especially

 where “the proposed label itself recommends infringing acts.” Vanda Pharms. Inc. v. West-Ward

 Pharms. Int’l Ltd., 887 F.3d 1117, 1133 (Fed. Cir. 2018). In Warner-Lambert and Genentech, the

 labels did not recommend infringing acts. See Genentech, 2022 WL 842957, at *9 n.6 (substantial

 non-infringing uses were relevant because unlike in Vanda, “Plaintiffs [had] not proven that the

 proposed label recommends infringing acts”); see Vanda, 887 F.3d at 1132-33 (distinguishing




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 Warner-Lambert where the alleged infringing uses were off-label).

        D.      Infringement of IBS-D Claims

        65 years of age or older. The legal standard is not whether a label expressly makes every

 single use (or subset of use) a direct infringement, but rather whether the label will “encourage,

 recommend, or promote infringement.” Takeda, 785 F.3d at 631. Norwich’s Label will encourage

 administration to adults 65 years or older with IBS-D because its product is indicated in all

 “adults.” Pls’ FoF ¶ 101. Norwich overgeneralizes the holding of Grünenthal to suggest that an

 indication to a population cannot infringe a claim to a subpopulation. See Def’s Res. Br. at 16.

 Grünenthal found that the defendant did not have intent to induce a claimed method to treat

 polyneuropathic pain—a subset of pain experienced in diabetic peripheral neuropathy pain—

 which was an indication that the generic defendant carved out of its label. Grünenthal GmbH v.

 Alkem Lab’ys Ltd., 919 F.3d 1333, 1339-40 (Fed. Cir. 2019). Norwich made no attempt here to

 carve out any part of the IBS-D indication. See also Hoffmann-La Roche Inc. v. Apotex Inc., C.A.

 No. 07-4417, 2010 WL 3522786, at *3 (D.N.J. Sept. 2, 2010) (granting summary judgment of

 inducement over generic’s argument that “the scope of the treatment method stated by the label is

 much broader than the scope of the treatment method stated by the claims at issue, which means

 that there are substantial non-infringing uses.”).

        Norwich continues to assert that the number of IBS-D patients 65 years of age or older are

 insubstantial. Def’s Res. Br. at 17. But the proportion of infringing versus non-infringing uses is

 not the standard for inducement. See Vanda, 887 F.3d at 1133 (“Section 271(b) … does not contain

 the ‘substantial noninfringing use’ restriction of section 271(c), on contributory infringement.”);

 Warner-Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1363-66 (Fed. Cir. 2003).

        Thus, Norwich’s reliance on Acorda and Genentech is misplaced. Acorda (decided before

 Vanda) did not find a lack of intent to induce because there were substantial non-infringing uses;


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 it found that mere sale of a product is not sufficient evidence of inducement where non-infringing

 uses were substantial. Acorda Therapeutics Inc. v. Apotex Inc., C.A. No. 07-4937, 2011 WL

 4074116, at *14, *18 (D.N.J. Sept. 6, 2011) (no intent to induce infringement of method of

 reducing somnolence by taking drug with food where FDA prohibited label from implying the

 drug reduced somnolence when taken with food). And Plaintiffs here are not relying solely on the

 Geriatric Use section as an affirmative recommendation. Contra Def’s Res. Br. at 16 (referring,

 but not citing to Pls’ Op. Br. at 12). Norwich’s Indications section affirmatively recommends

 “treatment of [IBS-D] in adults,” akin to the “directive language” this Court in Genentech

 distinguished from the “permissive language” it found insufficient to induce. JTX 73 at § 1.3; cf.

 Genentech, 2022 WL 842957, at *8 (“[W]hile the Asymptomatic Section lists some dose

 modifications covered by the Asserted Claims as potential treatment options, it does not

 affirmatively recommend any of them. There is a clear contrast between the directive language

 used in the first two bullet points … and the permissive language used in the third bullet point.”).

 Thus, GlaxoSmithKline applies. Cf. id. at *8 (“Unlike in [GlaxoSmithKline v.] Teva, where

 substantial evidence supported the jury’s determination that Teva’s partial label contained

 information encouraging each claimed step, here the label only recommends discontinuation,

 which is a non-infringing use.”) (cleaned up). Norwich does not “only recommend” a non-

 infringing use; it recommends “treatment of [IBS-D] in adults,” which covers both infringing and

 non-infringing uses. GlaxoSmithKline, 7 F.4th at 1329-30.

        The remainder of Norwich’s infringement defense to claim 3 of the ’667 patent seems to

 be an argument that its Label does not adequately support the efficacy of its ANDA Product in

 patients 65 years or older. Def’s Res. Br. at 17. If it were not effective in adults (including 65 and

 older), the FDA would not have approved Xifaxan® 550 mg tablets to treat IBS-D “in adults.” See




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 Tr. 529:18-530:20 (Schoenfeld). Norwich’s reliance on Dr. Bortey to suggest otherwise is a

 misunderstanding of the FDA’s analysis of clinical trial subgroups. Tr. 588:9-589:21 (Bortey) (the

 FDA accepts numerical superiority to show efficacy in a subgroup when there are no statistical

 differences observed between the subgroup and the overall patient population “treatment effect”);

 see also Tr. 582:21-583:7 (Norwich’s infringement expert prescribes rifaximin to treat IBS-D

 because it “is effective in adults, period, including patients who are 65 years of age or older[.]”).

        Durability of response. The Label will encourage the use of its ANDA Product TID for

 14 days to treat IBS-D. Contra Def’s Res. Br. at 13 (citing JTX 73, §§ 1.3, 2.3); Pls’ FoF ¶¶ 104-

 112. The Label’s sections 1.3 and 2.3 are the affirmative instruction that “will inevitably lead some

 consumers to practice the claimed method” even if it “does not explicitly track the language of a

 claimed method.” Sanofi, 204 F. Supp. 3d at 673-74; Eli Lilly, 845 F.3d at 1368-69; Orexigen, 282

 F. Supp. 3d at 816. This inevitability line of cases did not require an internal cite to data showing

 the inevitable result. E.g., Orexigen, 282 F. Supp. 3d at 816 (finding inducement based on

 dissolution data in the ANDA, not the label). The TARGET 3 data in Norwich’s Label is additional

 evidence of Norwich’s intent and knowledge to induce infringement. Pls’ Op. Br. at 15. Norwich’s

 expert admitted that by taking rifaximin as directed, some patients “will” have the claimed

 durability of response. Tr. 581:16-22 (Triadafilopoulos).

 II.    SECONDARY CONSIDERATIONS

        HE Claims. Norwich offers no legal support for its suggestion that nexus cannot be

 presumed for method claims where the skepticism is tied to a method and that method is the

 claimed invention. See Def’s Res. Br. at 19. Indeed, Immunex Corp. v. Sandoz Inc. affirmed nexus

 was properly presumed for claims “directed to the active ingredient in Enbrel® and its method of

 manufacture.” 964 F.3d 1049, 1067 (Fed. Cir. 2020) (emphasis added). Skepticism that rifaximin




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 could retain its efficacy after prolonged administration (i.e., clinical resistance), and concerns

 about the risk of superinfections, have a nexus to the claimed methods.

        The FDA’s approval of rifaximin for HE does not negate skepticism, because skepticism

 need not be that the claimed invention would be “impossible,” “unworkable,” or “technically

 infeasible.” Neptune Generics, LLC v. Eli Lilly & Co., 921 F.3d 1372, 1378 (Fed. Cir. 2019)

 (FDA’s concerns with a trial design were evidence of skepticism, despite the FDA allowing the

 trials to continue). A range of opinions by third parties can be probative, including mere worry or

 surprise. See id. (citing Circuit Check Inc. v. QXQ Inc., 795 F.3d 1331, 1337 (Fed. Cir. 2015)).

        Short-term, off-label use of rifaximin to treat HE did not meet a long-felt need for long-

 term prevention of HE recurrence. And a drug is not required to cure the claimed condition to

 satisfy a long-felt need. See Lundbeck v. Lupin Ltd., No. CV 18-88-LPS, 2021 WL 4944963, at

 *26, *92 (D. Del. Sept. 30, 2021) (drug did not have to be 100% effective in all patients or have

 no adverse side effects whatsoever to meet the long-felt need).

        IBS-D Claims. Dr. Harary did not address any of Plaintiffs’ evidence of skepticism that

 rifaximin could effectively treat a patient with IBS-D, and so Norwich’s response on these facts is

 attorney argument. See Pls’ Ans. Br. at 24-27 (responding to counsel’s arguments). Norwich’s

 reliance on off-label use to rebut skepticism fails for the same reasons its reliance on off-label use

 fails to show a reasonable expectation of success. Id. at 28. And it offers no further explanation for

 why off-label use of an unclaimed regimen negates a GI committee expert’s 2011 comment that

 the claimed regimen is “a completely different paradigm and a different treatment structure.” PTX

 535 at 302, 307. Norwich’s rebuttal is just that there is no nexus between the claims and a portion

 of the transcript on which Plaintiffs did not rely.




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                                                 MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                 /s/ Karen Jacobs

                                                 Jack B. Blumenfeld (#1014)
  OF COUNSEL:                                    Karen Jacobs (#2881)
                                                 Cameron P. Clark (#6647)
  Scott K. Reed                                  1201 North Market Street
  Steven C. Kline                                P.O. Box 1347
  Shannon K. Clark                               Wilmington, DE 19899-1347
  Daniel A. Apgar                                (302) 658-9200
  Alexis M. McJoynt                              jblumenfeld@morrisnichols.com
  Damien N. Dombrowski                           kjacobs@morrisnichols.com
  VENABLE LLP                                    cclark@morrisnichols.com
  1290 Avenue of the Americas                    Attorneys for Plaintiffs
  New York, NY 10104
  (212) 218-2100

  Becky E. Steephenson
  VENABLE LLP
  1270 Avenue of the Americas, 24th Floor
  New York, NY 10020
  (212) 307-5598

 June 15, 2022




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        I hereby certify that on June 9, 2022, I caused the foregoing to be electronically filed with

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 June 9, 2022, upon the following in the manner indicated:

 Karen E. Keller                                                          VIA ELECTRONIC MAIL
 Nathan R. Hoeschen
 SHAW KELLER LLP
 I.M. Pei Building
 1105 N. Market St., 12th Floor
 Wilmington, DE 19801
 Attorneys for Defendant

 Matthew J. Becker                                                        VIA ELECTRONIC MAIL
 Stacie L. Ropka
 Matthew S. Murphy
 Chad A. Landmon
 Rebecca L. Clegg
 AXINN, VELTROP & HARKRIDER LLP
 90 State House Square
 Hartford, CT 06103
 Attorneys for Defendant

 Aziz Burgy                                                              VIA ELECTRONIC MAIL
 AXINN, VELTROP & HARKRIDER LLP
 1901 L Street NW
 Washington, DC 20036
 Attorneys for Defendant

 Richardo S. Camposanto                                                  VIA ELECTRONIC MAIL
 AXINN, VELTROP & HARKRIDER LLP
 560 Mission Street
 San Francisco, CA 94105
 Attorneys for Defendant




                                              /s/ Karen Jacobs
                                              Karen Jacobs (#2881)
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 Karen E. Keller                                                          VIA ELECTRONIC MAIL
 Nathan R. Hoeschen
 SHAW KELLER LLP
 I.M. Pei Building
 1105 N. Market St., 12th Floor
 Wilmington, DE 19801
 Attorneys for Defendant

 Matthew J. Becker                                                        VIA ELECTRONIC MAIL
 Stacie L. Ropka
 Matthew S. Murphy
 Chad A. Landmon
 Rebecca L. Clegg
 AXINN, VELTROP & HARKRIDER LLP
 90 State House Square
 Hartford, CT 06103
 Attorneys for Defendant

 Aziz Burgy                                                               VIA ELECTRONIC MAIL
 AXINN, VELTROP & HARKRIDER LLP
 1901 L Street NW
 Washington, DC 20036
 Attorneys for Defendant

 Richardo S. Camposanto                                                   VIA ELECTRONIC MAIL
 AXINN, VELTROP & HARKRIDER LLP
 560 Mission Street
 San Francisco, CA 94105
 Attorneys for Defendant




                                               /s/ Karen Jacobs
                                               Karen Jacobs (#2881)
